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IN THE UNITED sTATEs DISTRICT coURT .»`~ ` " D-C.
FoR THE wEsTERN DISTRICT oF TENNESSEE "'GUG 10 pH
wEsTERN DIVISION 2" 59

 

MEMPHIS PUBLISHING CO.,

 

Plaintiff,

VS.

No. 04-2520 B[P

NEWSPAPER GUILD OF MEMPHIS,
LOCAL 33091,

Defendant.

 

REPORT AND RECOMMENDATION ON PLAINTIFF'S EXPEDITED MOTION
TO STAY ARBITRATION PENDING LAWSUIT

 

Before the court is Plaintiff Memphis Publishing Company's
Expedited Motion to Stay'Arbitration Pending Lawsuit, filed on June
27, 2005 (dkt #47). Defendant Newspaper Guild of Memphis, Local
33091 filed its response on July l. On July' 12, 2005, the

plaintiff filed a reply. The defendant filed a supplemental

memorandum on duly 25, 2005. The n©tion was referred to the
Magistrate Judge for determination and/or report and
recommendation. The court scheduled an evidentiary hearing for

July 21, 2005, but due to the unavailability of defense counsel,
the hearing was rescheduled to August 2, 2005. At the hearing, all
parties were present and heard. Both parties presented witnesses
and admitted numerous exhibits into evidence. (_gg Exhibit and
Witness List to 8/2/05 hearing).

This document entered on the docket Sheet in compilance

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After carefully considering the entire record, including the
arguments of counsel and evidence presented at the evidentiary
hearing, as well as the various memoranda of law and attached
affidavits,l the court recommends that the motion to stay be
DENIED.

I. PROPOSED FINDINGS OF FACT

Memphis Publishing Company d/b/a The Commercial Appeal (“MPC”)
is a manufacturing and publishing enterprise engaged in the
manufacturing and printing of a daily newspaper, The Commercial
Appeal, and various community editions. The Newspaper Guild of
Memphis, Local 33091 (the “Guild”) is a labor union that represents
employees of MPC in the editorial, advertising, marketingr
commercial, inside circulation, transportation, and neintenance
departments. On December 5, 2000, MPC and the Guild entered into
a collective bargaining agreement (“CBA”). The CBA includes a
provision requiring that all grievances be submitted to mandatory
arbitration. The CBA went into effect on January 11, 2000, and the
date of termination as stated in the CBA was January 11, 2004. The
CBA, however, includes a provision that the Guild refers to as an
“evergreen clause,” which states that “[w]ithin sixty (60) days
prior to the termination of this Agreement, the Publisher or the

Guild may initiate negotiations for a new Agreement. The terms and

 

lThe court has also considered MPC's Motion to Amend, or in
the Alternative Stay Arbitrations Pending Lawsuit, filed May 19,
2005 {dkt #32).

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conditions of the Agreement shall remain in effect during such
negotiations.” Since November 2003, MPC and the Guild have been
engaged in collective bargaining to negotiate a new CBA to replace
the one that allegedly expired on January ll, 2004.

After January ll, 2004, the Guild filed four demands for
arbitration on unrelated grievances. MPC contends it does not have
to arbitrate these four grievances, and filed this declaratory
action in federal court seeking a judgment declaring that the CBA
expired on January ll, 2004, and that MPC is not obligated to
arbitrate any grievances that arose after that expiration date.
The Guild argues that the arbitration provisions of the CBA are
still enforceable because the evergreen clause extended the CBA’s
expiration date. Nevertheless, the Guild agreed with MPC to hold
the arbitration of these four grievances in abeyance until final
judgment is entered in this federal action.

However, since the time that MPC filed this action in August
2004, the Guild has filed at least four additional demands for
arbitration on four unrelated grievances. These four grievances
involve reduction in force, disciplinary action for tardiness,
scheduling of hours, and displaying a t-shirt over a chair. Unlike
the original four grievances, the American Arbitration Association
(“AAA”) and the Guild have been unwilling to hold the arbitration
of these new' grievances in abeyance, and the Guild \Nishes to

proceed to arbitration on these new grievances.

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As a result, MPC filed the present motion, seeking an
injunction2 to prevent the Guild from arbitrating any grievances
before the AAA, It is MPC's position that the grievances are not
arbitrable under the expired CBA, and therefore, the matters should
not proceed to arbitration until after this court decides the
declaratory judgment action. The Guild, opposes this motion,
arguing that a federal statute, the Norris-LaGuardia Act, 29 U.S.C.
§ 101-115 (“NLA”), prohibits the court from enjoining resolution of
these labor disputes through arbitration under the circumstances
of this case.

At the August 2 evidentiary hearing, MPC took the position
that the NLA does not apply in this case, and argued that the court

should apply the traditional equitable standards that govern

 

2Although styled as an expedited “motion to stay,” the
parties agree that MPC is not seeking to stay the litigation, but
rather is requesting that the court issue a preliminary
injunction prohibiting the Guild from moving forward with the
arbitration proceedings before the AAA. See Tejidos De Coamo,
lnc. v. Int'l Ladies' Garment Workers' Unions, 22 F.Bd 8, 14 (1st
Cir. 1994)(“a stay of arbitration is a coercive order directed
not at the court’s own proceedings but at the out-of-court
activities of parties before the court.”); Camping Construction
Co. v. District Council of Iron Workers, 915 F.2d 1333, 1343 (9th
Cir. 1990)(“an order staying arbitration is a ‘classic form of
injunction,' not ‘a mere step in the controlling of litigation
before the court.'”). At the August 2 hearing, MPC explained
that the term “stay" was used in its motion because in
correspondence between AAA and MPC, the AAA informed the MPC that
it would proceed with arbitration unless the court ordered that
these matters be “stayed.”

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“ordinary” injunctions.3 However, despite making this argument,
MPC presented no evidence on the likelihood of success on the
merits. Instead, MPC’s proof related almost exclusively to its
efforts to work with AAA and the Guild to stay the arbitration
proceedings until the resolution of this litigation. MPC's
witness, Warren Funk, General Counsel and Human Resources Director
of The Commercial Appeal, testified at length about his
communications with AAA and the Guild regarding holding the
grievances in abeyance. MPC also admitted into evidence numerous
documents demonstrating MPC’s efforts to stay arbitration.
However, none of MPC’s evidence related in any meaningful way to
the issue of whether MPC has shown a strong likelihood of success
on the merits. Moreover, apparently because MPC believes that the

NLA does not apply in this case, MPC did not address any of the

 

3These equitable standards are (1) whether the movant has
shown a strong likelihood of success on the merits; {2) whether
the movant will suffer irreparable harm if the injunction is not
issued; (3) whether the issuance of the injunction would cause
substantial harm to others; and (4) whether the public interest
would be served by issuing the injunction. See Overstreet v.
Lexinqtonq Favette Urban Countv Gov't, 305 F.3d 566, 573 (6th
Cir. 2002}. Curiously, in its May 19 motion to amend complaint,
MPC cited the case of C.B.S. Emplovees Federal Credit Unions v.
Donaldson, Lufkin & Jenrette Securities, Corp., 716 F.Supp. 307
(W.D, Tenn. 1989), as establishing the standard that this court
should apply in deciding MPC's motion to stay. The C.B.S. case
does not apply here, however, since that case involved the
standards a court must apply in deciding whether to stay
litigation pending appeal of an order denying stay of
arbitration, pursuant to Fed. R. Civ. P. 62. The present case
involves neither a stay of litigation nor an appeal under Rule
62.

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requirements of section 7 of the NLA at the evidentiary hearing,
II. PROPOSED CONCLUSIONS OF LAW

A. Does the NLA Apply?

As a threshold matter, the court must decide whether to apply
the strict requirements under section 7 of the NLA or the less
stringent equitable standards that govern “ordinary” injunctions.
The Guild asserts that the NLA applies because this case involves
or grows out of a labor dispute. MPC argues that the NLA does not
apply.

The NLA. was intended to limit the use of federal court
injunctions in labor dispute cases. See Tejidos de Coamo, Inc. v.
Int’l Ladies Garment Workers’ Union, 22 F.3d 8, 11 n.5 (1st Cir.
1994). The act establishes a strong federal policy against the
issuance of labor injunctions, except in very limited
circumstances. Compare Bovs Markets, Inc. v. Retail Clerks Union,
Local 770, 398 U.S. 235 (1970), with Buffalo Forge Co. v. United
Steelworkers, 428 U.S. 397 (1976). The Supreme Court has made it
clear that, in those limited circumstances when injunctive relief
is warranted under the NLA, it should be given to enforce - not
impede - private labor arbitration. See, e.g., Textile Workers
Unions v. Lincoln Mills, 353 U.S. 448 (1957); Boys Markets, 398
U.S. 235.

Under section.'7 of the NLA, aa federal court may issue an

injunction in a case “involving or growing out of a labor dispute”

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only after an evidentiary hearing and specified findings by the
court. 29 U.S.C. § 107. The NLA defines “labor dispute” as “any
controversy concerning terms or conditions of employment, or
concerning the association or representation of persons in
negotiating, fixing, maintaining, changing, or seeking to arrange
terms or conditions of employment, regardless of whether or not the
disputants stand in the proximate relation of employer and
employee.” 29 U.S.C. § 113(c). This definition is extremely
broad, and the Supreme Court has so interpreted it. §§§ Burlington
Northern R.R. v. Bhd. Of Maintenance of Way Emplovees, 481 U.S.
429, 441 (1987} (stating that the Supreme Court “consistently
declined to construe 13(c) narrowly”); Jacksonville Bulk Terminals,
lnc. v. Int’l Longshoremen’s Ass’n, 457 U.S. 702, 712-14 (1982);
Armco, Inc. v. United Steelworkers of Am., 280 F.3d 669, 679-80
(6th Cir. 2002}. The Supreme Court has stated that a case involves
a labor dispute if “the employer-employee relationship [is] the
matrix of the controversy.” Columbia River Packers Ass'n, Inc. v.
Hinton, 315 U.S. 143, 147 (1942).

The Tejidos case is similar to the case at bar. In Tejidos,
the company filed an action asking the court to declare that no
contract existed between the company and the union. Tejidos, 22
F.3d at 9. Prior to the lawsuit, the company and union were
parties to a collective bargaining agreement, which expired on

February 29, 1992. Id. On April 17, 1992, the parties entered

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into a “summary of agreement” in anticipation of reaching a new
agreement, but apparently, the parties did not finalize a formal
contract. ld; On November 30, 1992, the union sought to arbitrate
a few employee disciplinary disputes, but the company objected to
arbitration, arguing that the prior agreement had expired and that
there was no new contract between the parties. ld; In deciding
that the NLA applied, the court stated as follows:

the judicial virtues include respecting statutory
language, and section 7 seems on its face to apply to our
case. The Lincoln Mills and Boys Markets cases are
distinguishable because they involved affirmative
enforcement of collective bargaining contracts in support
of arbitration. Also, what law can be found in the
circuits may lean slightly in favor of the view that
section 7 does apply here

On balance, we are disposed to hold that section 7
does govern a suit to enjoin a labor arbitration - unless
and until the Supreme Court says otherwise. Carving out
new exceptions to the Norris-LaGuardia Act, or markedly
extending old ones, is primarily a matter for the Supreme
Court. We think such a step is entirely possible; but we
do not think it so certain that we should anticipate it.
Modern labor law, after all, is largely a construct of
Congress, the Labor Board, and the Supreme Court. The
edifice does not need another architect.

ld.; accord AT&T Broadband v. IBEW Local 21, 317 F.3d 758, 760 (7th
Cir. 2003); Lukens Steel Co. v. United Steelworkers, 989 F.2d 668,
675-79 (3d Cir. 1993}; Camping Const. Co. v. Iron Workers, 915 F.2d
1333, 1340-50 (9th Cir. 1990); In re Marine Eng'rs Beneficial
A§§;n, 723 F.2d 70, 79 (D.C. Cir. 1983); Pritchard Elec. Co. v.
Int’l Brotherhood of Elec. Workers, 306 F.Supp.2d 603, 607

(S.D.W.V. 2004); KenAmerican Res., Inc. v. Int'l Union, United Mine

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Workers of America, 911 F.Supp. 19, 22 (D.D.C. 1996); Meijerl lnc.
v. United Food and Commerical Workers Union Local 951, No.
94:CV:682, 1994 WL 782239, at *4-5 (W.D. Mich. OCt. l7, 1994). MPC
has not cited any cases in which a court has directly addressed
this same issue and ruled to the contrary.4

In the present case, the labor grievances involve reduction in
the work force, disciplining an employee for tardiness, scheduling
of employee hours, and disciplining an employee for draping a t-
shirt over a chair. Clearly, these grievances all involve or grow
out of a labor dispute. In fact, MPC has never argued that these
grievances are not labor disputes. This court agrees with the
Tejidos line of cases, and submits that section '7 of the NLA
applies in this case.
B. The NLA Requirements

The court, having concluded that the NLA applies, now turns to
the act's requirements. The NLA establishes procedural
requirements for the issuance of injunctions which are made
jurisdictional:

No court of the United. States, as defined in this

chapter, shall have jurisdiction to issue any restraining

order or temporary or permanent injunction in a case
involving or growing out of a labor dispute. except in a

 

4At the August 2 hearing, MPC argued that the case of
Sandvik AB v. Advent Int'l Corp., 220 F.3d 99 (3d Cir. 2000)
supported the plaintiff's position. That case is not applicable
here, however, as it does not address the applicability of the
NLA. That case also involved a motion to compel arbitration, not
a preliminary injunction.

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strict conformity with the provisions of this chapter;

nor shall any such restraining order or temporary or

permanent injunction be issued contrary to the public

policy declared in this chapter.
29 U.S.C. § 101. The jurisdictional nature of the procedural
requirements is reiterated in § 7, 29 U.S.C. § 107, where the
requirements are set forth. “Only after it has heard the testimony
of witnesses in open court, with an opportunity for cross-
examination, and after it has made findings of fact on issues
enumerated in the statute does a federal court have jurisdiction to
issue an injunction ‘in any case involving or growing out of a
labor dispute.’” Int’l Union, United Automobile, Aerospace and
Agricultural Ileement Workers of America-UAW v. LaSalle Machine
Tooll Inc., 696 F.2d 452, 456 (6th Cir. 1982).

Section 7 provides that in order for a court to issue an
injunction, the court must find:

a) That unlawful acts have been threatened and will be

committed unless restrained or have been committed and

will be continued unless restrained . . . ;

(b) That substantial and irreparable injury' to
complainant's property will follow;

(c) That as to each item of relief granted greater injury
will be inflicted upon complainant by the denial of
relief than will be inflicted upon defendants by the
granting of relief;

{d) That complainant has no adequate remedy at law; and
(e) That the public officers charged with the duty to

protect complainant's property are unable or unwilling to
furnish adequate protection.

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29 U.S.C. § lO'7.5

MPC must satisfy all of these requirements in order to obtain
an injunction, but has failed to do so. First, there is nothing to
suggest that “unlawful acts” have been threatened and will be
committed. All the grievances involve either interpretation of the
“evergreen clause” or the terms and conditions of employment (e.g.
work schedules, discipline for tardiness, reduction in force,
employee conduct at work, etc.). MPC has never alleged - either in
its various memoranda of law or at the evidentiary hearing - much
less presented any evidence that would even suggest that unlawful
acts are threatened or will be committed.

Rather, the “unlawful acts” described in subsection (a)
include acts such as violence, intimidation, threats, vandalism,
breaches of the peace and criminal acts - it requires more than a
breach of contract or a tortious act. See, e.g., Nev! Negro
Alliance v. Sanitarv Grocerv Co., 303 U.S. 552, 562-63 (1938);
Philadelphia Marine Trade Assn's v. Local 1291, Int’l
Longshoremen’s Ass'n, 909 F.2d 754, 757 n.7 (3d Cir. 1990){finding
“no authority for equating breach of peace with unlawful act”);
Marine Transp. Lines, Inc. v. Int'l Org. of Masters, Mates &

Pilots, 770 F.2d 1526, 1530 (1lth Cir. 1985)(Suggesting that

 

5It is unclear whether the fifth requirement would apply in
this case. See LaSalle Machines Tools, 696 F.2d at 456. The
court need not resolve this issue, however, since MPC has failed
to satisfy other requirements under section 7. §e§ infra.

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“unlawful acts” may' be limited to things akin to “violence,
intimidation, threats, vandalism, breaches of the peace and

criminal acts"); Scott v. Moore, 680 F.2d 979, 986 (5th Cir.

 

1982)(en banc), rev'd on other grounds, 463 U.S. 825 (1983); Wilson

& Co. v. Birl, 105 F.2d 948, 952 (3d Cir. l939)(construing

 

“unlawful acts” narrowly); Pritchard Elec. Co., 306 F.Supp.2d at
612 (“To include a garden variety breach of contract into the NLA’s
‘unlawful acts’ requirement would render the statutory requirements
for an injunction superfluous.”).

Second, as to substantial and irreparable injury, MPC contends
that if the injunction is not issued, MPC will be forced to proceed

to arbitration, which may turn out to be a waste of time and

resources if the court ultimately concludes that the CBA.expired on

January 11, 2004. However, this is not the type of irreparable
injury contemplated by the courts in granting injunctions. Seel

e.g., AT&T Broadband, 317 F.3d at 762 (stating that “it has long
been established that the expense of adjudication is not
irreparable injury.”); Tejidos, 22 F.3d at 14-15 (“It is true that
participating would cause one form of loss, namely, the time and
expense of litigation before the arbitrator. But courts have
ordinarily not deemed litigation expense to be substantial and
irreparable injury warranting an injunction.”); In re Marine Eng'rs
Beneficial Ass'n, 723 F.2d at 78; Pritchard Elec. Co., 306

F.Supp.2d at 612 (finding that requiring employer to arbitrate in

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the wrong forum and harm to employer's reputation did not meet
substantial and irreparable harm standard); KenAmerican Res., Inc.,
911 F.Supp. at 23 (concluding that submitting to arbitration is not
irreparable injury per se).

MPC also argues that if the arbitrator rules in favor of the
Guild, then MPC would be harmed if it is then required to reinstate
terminated employees or otherwise take some action to the detriment
of current employees. The court submits that this also does not
amount to irreparable injury. See AT&T Broadband, 317 F.3d at 762
(“Where's the irreparable injury? If AT&T loses in the arbitration,

the union will seek to enforce its victory; AT&T can defend on the

theory that it had not agreed to arbitrate this kind of dispute.”);

 

In re Marine Eng’rs Beneficial Ass'n, 723 F.2d at 79 (“in the
unlikely event that the arbitrator . . . should exceed his
authority under the [CBA], or otherwise render an unlawful or

unenforceable award, there is nothing to prevent an aggrieved party
fron\ challenging the arbitrator’s decision.”). Moreover, the
potential injury is much too speculative at this very early stage
of the arbitration proceedings. See East St. Louis Laborers' Local
100 v. Bellon Wrecking & Salvage Co., &_ F.3d __, 2005 WL 1567326,
at *3 (7th Cir. July 6, 2005)(“specu1ative injuries do not justify
this extraordinary remedy [of a preliminary injunction].”).
Because MPC has not met all the requirements under section 7

of the NLA, the court recommends that the motion to stay' be

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DENIED.6
III. CONCLUSION

For the reasons above, it is recommended that the court DENY
Plaintiff’s Expedited Motion to Stay Arbitration Pending Lawsuit.

Respectfully submitted.

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TU M. PHAM
United States Magistrate Judge

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Date U

NOTICE

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS AFTER BEING SERVED WITH A COPY OF THE REPORT. 28
U.S.C. § 536(b)(l)(C). FAILURE TO FILE THEM WITHIN TEN (10) DAYS
MAY CONSTITUTE A WAIVER OF OBJECTIONS, EXCEPTIONS, AND ANY
FURTHER APPEAL.

 

6The court need not address the remaining requirements of
section 7 in order to deny the motion. Moreover, even assuming,
arguendo, that the traditional preliminary injunction equitable
factors apply in this case - and they do not - the motion to stay
should nevertheless be denied because MPC presented no evidence
on likelihood of success on the merits. On the other hand, the
Guild during cross-examination of Mr. Funk elicited testimony
that shows that MPC and the Guild had entered into numerous CBAs
over the past twenty-plus years, that these prior versions of the
CBA contained similar evergreen provisions, and that MPC has
arbitrated grievances during the prior CBAs’ evergreen periods -
that is, the period of time between the stated expiration date on
the CBA and the effective date of the next CBA. Finally, as
discussed above, MPC has not shown that it would suffer
irreparable harm.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:04-CV-02620 Was distributed by fax, mail, or direct printing on
August 11, 2005 to the parties listed.

EssEE

 

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Honorable .1. Breen
US DISTRICT COURT

